                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and Melinda
J. Adducci                                           Case No. 19-54531

                                                     Honorable Phillip J. Shefferly
            Debtors.
____________________________________/


                MEMORANDUM REGARDING
    DEBTORS’ OBJECTION TO TRUSTEE’S MOTION TO COMPEL


   Debtors state,

         1.   Since the initial hearing on the Trustee’s Motion to Compel and for

Sanctions, Debtor Joseph DuMouchelle has submitted a verified declaration in

support of Debtors’ objection to the Trustee’s motion.


         2.   The gist of Mr. DuMouchelle’s declaration is that he has

substantially complied with the Trustee’s subpoena and has provided all

documents in his care, custody and control that are responsive.


         3.   Mr. DuMouchelle’s declaration elaborates as to the 202 documents

that he provided. The documents were provided on May 21, 2020, which was 3

days after the requested extension. Mr. DuMouchelle elaborated as to the

reasons for why the response was delayed. As Mr. DuMouchelle stated,

             “Every effort was made to gather, organize, remove security,
             and deliver the items available in six weeks time versus the
             normal 4 weeks time. Given the unusual and extreme
             circumstances surrounding this time period, and to
             circumstances beyond my control, the motion and sanctions
19-54531-pjs appear
               Doc 202
                    to beFiled 06/04/20
                          premature   and Entered 06/04/20 23:15:08 Page 1 of 4
                                          out of place.”
          4.   The Debtors have consistently asserted their fifth amendment

privilege and do not believe that a three day delay materially prejudiced the

Trustee in the administration of their chapter 7 case. It appears that the

Trustee is not inclined to set the 2004 examination for the Debtors until after

Debtors have waived their fifth amendment privileges so that the 2004

examination can be effective. Debtors are still in the process of attempting to

negotiate a plea agreement for Mr. DuMouchelle, and Debtors do not

contemplate waiving their fifth amendment privileges until no earlier than

when a contemplated plea agreement will be consummated.


          5.   Debtors have terminated the services of undersigned counsel,

subject to Court approval. The hearing on undersigned counsel’s motion to

withdraw is set for 6.10.2020. Mr. DuMouchelle has indicated that he is in the

process of interviewing prospective substitute counsel and requests an

extension of any relevant dates being set until he has the input of counsel of his

choice.


          6.   Debtors believe that the proper standard is found in Fed.R.Civ.P.

45 and not Fed.R.Civ.P 37 as the subpoena was not submitted as a request to

produce documents. Under Fed.R.Civ.P. 45(g), which governs subpoenas,


          “(g) Contempt. The court for the district where compliance is required —
          and also, after a motion is transferred, the issuing court — may hold in
          contempt a person who, having been served, fails without adequate
          excuse to obey the subpoena or an order related to it.”

          7.   Debtors believe that “adequate excuse” has been averred to the

extent required.
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        WHEREFORE, this Court should deny the Trustee’s motion to compel.

                                               Respectfully submitted,
                                               /s/ Robert N. Bassel
                                               Robert N. Bassel, P48420
                                               POBox T
                                               Clinton, MI 49236
                                               248.677.1234
                                               bbassel@gmail.com
                                               Counsel for Deb tors

       Dated: 6.4.2020




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 In re:
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                                                        Honorable Phillip J. Shefferly
             Debtors.
 ____________________________________/

                  PROOF OF SERVICE OF
      MEMORANDUM IN SUPPORT OF DEBTORS’ OBJECTION TO
              TRUSTEE’S MOTION TO COMPEL

  Undersigned counsel states,

         1.    I served a copy of the above-referenced document upon counsel
  of record via the ECF system on 6.4.2020:




                                                   Respectfully submitted,
                                                   /s/ Robert N. Bassel
                                                   Robert N. Bassel,
                                                   P48420 POBox T
                                                   Clinton, MI 49236
                                                   248.677.1234
                                                   bbassel@gmail.com
                                                   Counsel for Debtors

          Dated: 6.4.2020




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